Case 1:13-cr-20583-WJZ Document 11 Entered on FLSD Docket 07/02/2015 Page 1 of 1




                                                               IJINIIrI'ED 8''rA'
                                                                                1-EB DIS-
                                                                                        IRUCT COURT
                                                               SOUTIAERN DISTSIU CT OF FLOlUDA

                                         NEPO N T COM M ENG NG CI/IM '
                                                                     .
                                                                     I:NA L ACTION
                                                                                                            C      13-20583-CR-ZLOCH
       LW I7:*
             E'D E1hA '
                      1nE5 OP A*4D-W ch                                                                      ASE'#            . .   .      ..   .                       ,



       Vs
           OW ANIKIN,JO SEPH
                    '   .           .        . ..           . ...    ,
                                                                                                            PRISONER1 ô.öRO-('
                                                                                                                             oq                                  .,.                  -


           ijl4:# )j4:..
                       /##'41# #-4::#tl'ld.l11:.81lk* 0111!11!.14l1,:)'j,:4$
                                                                           .tpt!.
                                                                                '.
                                                                                 1:#.-
                                                                                     5p11;Ilî
                                                                                            'lr4141111:1,1,
                                                                                                          .'1:114114,1)#114:zk4Jz
                                                                                                                                .1:::
                                                                                                                                    1'l:## 4r4,$
                                                                                                                                               .$..
                                                                                                                                                  -9:-I:
                                                                                                                                                       .:1:1111f1:
                                                                                                                                                                 ':
                                                                                                                                                                  .1,t,#ï1:rklk# tlîhIt1,t1:
       TO.
       '
         ' CL
            .l'
              R.C'S017
                     .,*CE, ' TE STAT..E
                                       .'S 1
                                           ..8T. .
                                                 CTC0' '1''
                                                          ,                                                                                      (C 'Cb
                                                                                                                                                      .'''O r?)
               AM '
                  I                       .LAU DB                   AL                      MG ST P                  M BEA CH                       , .PIERCE
       t!
       .It1
          )+*dIt
               k#1:à ... '' I..                                              .*@1,'
                                                                                  4!tr:.
                                                                                       #:I
                                                                                         ::$444;1:tT41:**11
                                                                                                          ,*$1@d,$1:*s!*1
                                                                                                                        1,**q
                                                                                                                            ltd!t!@'4t*zll* lkï$# ##dt,
                                                                                                                                                      .3'
                                                                                                                                                        TllrIirI1Ile
       ALL Jrr Tlzl.rtf TO BE CO3#'
                                  PZ/T&                                                   -INF OS M TION N OTAPPLIS BLE 0R
       JJNANJJTW T0 3:7INDXCATET Bj''WAA '';
                                                                         '

       1)DATHAX 77> OFAR:,88T: 07/02/2015                      ,                            -



       2)LANOUAOBIS)SPOIG'N:                                                      ENG LISH
       3)oFl
           oyss(s)èHAaeED: 1 !œ Fl> kle :or
       4)US.CITJZBN Z IQS Z N0                                                                            UZ 1
                                                                                                             20 0421
                                                                                                        . ----*-vv---11


       5)DAT:(orsritent!                                     0&o5/1:s3           .-         .. ..                               .                        -       .. ,..                   .


      6)T1T,BOBCI
                G ROW Z DCCUMENT: 'ICHECK ONSj,
                                W DIC'
                                     IM SNT                                  ,                          .                 '
                                COAOLAY TTOBEFLED/ALREAbY FILBD
                                BENCH W A RRAN T FOR FM LURE T0 APPEAR                              .

                                PROBATION VIOLATION W ARRANT
                                PAROLE VTOLATION W ARR ANT
                      CIRIOIN A.TfNO D:STRICT:
                                     .
                                           ' S/FL
                                                                                                                                                         - .- - -




                      comroy4/.                                     LEFTwlrl:B'
                                                                              ooI
                                                                                uuool
                                                                                    occzltf-
                                                                                           u vss N No
      7)AM OUNT 0F BOND;                                           --                                    W H0 SET BOND:                                   ,         -



      2)ARKBEFING/PROCESSING AOBNI-:USM S
                            .
                                                                                      .                     -   -                   -
                                                                                                                                                     oxTz:07/02/2015

      9)Aosxcv:USM S                                               - ---. -                                         .
                                                                                                                    -.                  psloxn:954660
                                                                                                                                                              --- .j83-
                                                                                                                                                                      6 .
